
HARRIS, J.
Finding that the prosecutor’s statements during closing argument do not warrant a reversal, we affirm appellant’s conviction and habitual offender sentence for sale of cocaine. Because the record on appeal is unclear regarding whether appellant actually pled to violation of probation in case number 95-19638 at or prior to the sentencing herein, we remand to the trial court for determination and resolution. At the same time, we remand to the trial court for reconsideration of its habitual offender sentence on the charge of possession of cocaine in light of section 775.084(l)(a)(3), Florida Statutes.
AFFIRMED in part; ISSUES REMANDED for reconsideration.
COBB and PETERSON, JJ., concur.
